
*241OPINION.
MoRRis:
In view of our decision in Appeal of Webb Press Co., 3 B. T. A. 247, wherein the facts and circumstances were practically identical with those in this proceeding, we consider it unnecessary to resort to a lengthy discussion in reaching our conclusion. In that case, as in this, the title to the compresses contracted to be sold was in the petitioner until fully settled for as provided for in the contract. A test and acceptance was provided as a condition precedent *242to the passage of title in that case as in this. In that case we held that the transaction was not completed until the compress was tested and accepted by the purchaser.
In this proceeding the presses contracted for were not inspected and accepted by the purchaser until January 13, 1921, at which time the final settlement with cash payment and notes was agreed upon; therefore, the income derived from the sales of these presses is not taxable in 1920 as contended by respondent.

Judgment will be entered on IS dags’ notice, under Rule 50.

Considered by Trammell, Murdoch, and Siefkin.
